           Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 1 of 10



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
TAMARA WAREKA p/k/a TAMARA                    Case No.: 1:22-cv-10081
WILLIAMS,
                                              COMPLAINT
                         Plaintiff,
                                              DEMAND FOR JURY TRIAL
v.
SOCIETY19 MEDIA, LLC; and DOES
1through 10, inclusive,
                         Defendant.




                                      COMPLAINT
      Plaintiff Tamara Wareka p/k/a Tamara Williams, for her Complaint against
Society19 Media, LLC and DOES 1 through 10 inclusive, alleges as follows:
                          JURISDICTION AND VENUE
      1.      This is a civil action seeking damages and injunctive relief for
copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
101 et seq.
      2.      This Court has subject matter jurisdiction over Plaintiff’s claims for
copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
      3.      This court has personal jurisdiction over Defendant because
Defendant’s acts of infringement complained of herein occurred in the
Commonwealth of Massachusetts, Defendant’s acts of infringement were directed
towards the Commonwealth of Massachusetts, Defendant caused injury to Plaintiff
within the Commonwealth of Massachusetts, and Defendant has a physical
presence in the Commonwealth of Massachusetts.




                                          1                             COMPLAINT
           Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 2 of 10




      4.      Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
1400(a) in that this is the judicial district in which a substantial part of the acts and
omissions giving rise to the claims occurred.
                                      PARTIES
      5.      Tamara Warkea p/k/a Tamara Williams (“Williams”) is an individual
and professional photographer.
      6.      Society19 Media, LLC (“Society19”) is a Wyoming corporation with
a business address of 500 W. Cummings Park, Suite 6000, Woburn, MA 01801.
      7.      Plaintiff is unaware of the true names and capacities of the Defendants
sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
Defendants under such fictitious names. Plaintiff is informed and believes and on
that basis alleges that such fictitiously named Defendants are responsible in some
manner for the occurrences herein alleged, and that Plaintiff’s damages as herein
alleged were proximately caused by the conduct of said Defendants. Plaintiff will
seek to amend the complaint when the names and capacities of such fictitiously
named Defendants are ascertained. As alleged herein, “Defendant” shall mean all
named Defendants and all fictitiously named Defendants.
                           FACTUAL ALLEGATIONS
             Tamara Williams Is A Professional Beauty Photographer
      8.      Tamara Williams is a highly successful freelance photographer
specializing in beauty and fashion photography. Williams is most well-known for
her natural and clean model portraiture featured on her highly popular Instagram
account @tamarawilliams1, which has amassed over 400,000 followers.
      9.      Williams’ work has been featured in top publications such as Vogue,
Harper’s Bazaar, Marie Claire, Elle, L’Officiel, Glamour, Cosmopolitan, Maxim,
and many more. Additionally, her work has been used commercially by brands
such as NARS, KKW, Fenty, and Benefit.

                                           2                              COMPLAINT
         Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 3 of 10




      10.      Williams is the author and exclusive rights holder to 27 photographs
(the “Photographs”).
      11.      Attached hereto as Exhibit A are true and correct copies of the
Photographs.
      12.      Williams registered Photograph with the United States Copyright
Office under registration certificates VA 2-130-596, VA 2-178-318, VA 2-178-
320, VA 2-114-447, VA 2-116-887, VA 2-116-904, VA 2-116-917, VA 2-116-
918, VA 2-116-919, VA-2-116-920, and VA 2-197-148.
                    Society19 Is An Online Publishing Platform
      13.      Defendant Society19 is an online publishing company that aims “to
provide comprehensive digital marketing services for companies that are aiming to
reach millennials and college students.” See https://bit.ly/3EMo9SP .
      14.      Society19    is   the   owner    and    operator   of    the   website
www.society19.com (“Website”).
      15.      Through its website, Society19 invites contributors to submit articles
on a number of topics, including beauty and fashion.
      16.      Although content is initially submitted by contributors, Society19 and
its agents exercise significant discretion and control to determine what content,
including photographs, ultimately get published on the Website.
      17.      According to the FAQ page on Society19’s Website, submitted
articles are reviewed by Society19’s editorial team for approval prior to
publication.
      18.      Additionally, Society19 content managers are responsible for placing
“images that have a high Pinterest potential to ensure that your article receives the
highest number of views possible.” See https://bit.ly/3IEWbuQ .
      19.      Attached hereto as Exhibit B is a true and correct copy of the FAQ
page from Society19’s Website.

                                           3                            COMPLAINT
         Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 4 of 10




      20.    Society19 monetizes its Website through paid banner advertisements
and, on information and belief, also receives a portion of sales of certain “curated
products” through product placements in relevant articles featured on the Website.
See https://bit.ly/3oFnYmO .
               Society19 Engages In Mass Copyright Infringement
      21.    In 2020, Williams began to discover numerous infringements of her
Photographs on the Society19 Website.
      22.    Williams discovered an article on the Website dated July 31, 2019
titled “9 Fall Beauty Looks To Obsess Over” which featured one of her
Photographs.
      23.    The text below Williams’ Photograph in the article reads “Get the
look” and features an image of a product which when clicked, takes the reader to
the website for the makeup retailer Sephora.
      24.    Attached hereto as Exhibit C is a true and correct copy of the article
“9 Fall Beauty Looks To Obsess Over.”
      25.    Williams also discovered an article on the Website dated July 26,
2019 titled “The Best Eye Creams That You Should Know About” which featured
six of her Photographs.
      26.    The text below each of Williams’ Photographs in the article reads
“Shop the product” and features an image of a product which when clicked, takes
the reader to a page selling the product.
      27.    Attached hereto as Exhibit D is a true and correct copy of the article
“The Best Eye Creams That You Should Know About.”
      28.    Williams also discovered an article on the Website dated October 29,
2019 titled “12 Lazy-Girl Tips To Look Cute With Little Effort” which featured
one of her Photographs.
      29.    Attached hereto as Exhibit E is a true and correct copy of the article

                                            4                         COMPLAINT
         Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 5 of 10




“12 Lazy-Girl Tips To Look Cute With Little Effort.”
      30.    Williams also discovered an article on the Website dated March 31,
2019 titled “10 Wedding Makeup Looks To Wear On The Big Day” which
featured two of her Photographs.
      31.    Williams also noticed that one of the two Photographs used in the
article contained her watermark “@tamarawilliams1.”
      32.    Attached hereto as Exhibit F is a true and correct copy of the article
“10 Wedding Makeup Looks To Wear On The Big Day.”
      33.    Williams also discovered an article on the Website dated August 17,
2019 titled “5 Common Skincare Mistakes And How To Fix Them” which
featured four of her Photographs.
      34.    Attached hereto as Exhibit G is a true and correct copy of the article
“5 Common Skincare Mistakes And How To Fix Them.”
      35.    Williams also discovered an article on the Website dated September 9,
2019 titled “How To Transition Your Makeup Bag From Summer To Fall” which
featured seven of her Photographs.
      36.    Attached hereto as Exhibit H is a true and correct copy of the article
“How To Transition Your Makeup Bag From Summer To Fall.”
      37.    Williams also noticed that one of the Photographs used in the article
contained her watermark “@tamarawilliams1.”
      38.    The text below six of Williams’ Photographs in the article reads
“Shop the product” and features an image of a product which when clicked, takes
the reader to a page selling the product.
      39.    Williams also discovered an article on the Website dated May 31,
2019 titled “The Best Super Coloured Eyeliners You Should Try” which featured
one of her Photographs.
      40.    Williams also noticed that the Photograph used in the article contained

                                            5                         COMPLAINT
         Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 6 of 10




her watermark “@tamarawilliams1.”
      41.   The text below Williams’ Photograph in the article reads “Shop the
product” and features an image of eyeliner which when clicked, takes the reader to
the website for the makeup retailer Sephora.
      42.   Attached hereto as Exhibit I is a true and correct copy of the article
“The Best Super Coloured Eyeliners You Should Try.”
      43.   Williams also discovered an article on the Website dated May 14,
2018 titled “10 Minimal Makeup Looks That Take 10 Minutes Or Less” which
featured one of her Photographs.
      44.   The text below Williams’ Photograph in the article reads “Shop the
look” and features an image of a makeup compact which when clicked, takes the
reader to an Amazon page for the product “Milani Baked Blush.”
      45.   Attached hereto as Exhibit J is a true and correct copy of the article
“10 Minimal Makeup Looks That Take 10 Minutes Or Less.”
      46.   Williams also discovered an article on the Website dated August 23,
2018 titled “How To Master the No Makeup Makeup Look, And Rock It” which
featured one of her Photographs.
      47.   Attached hereto as Exhibit K is a true and correct copy of the article
“How To Master the No Makeup Makeup Look, And Rock It.”
      48.   Williams also discovered an article on the Website dated December
31, 2019 titled “8 Best Eyeshadow Looks For Green Eyes” which featured two of
her Photographs.
      49.   Williams also noticed that one of the three Photographs used in the
article contained her watermark “@tamarawilliams1.”
      50.   Attached hereto as Exhibit L is a true and correct copy of the article
“8 Best Eyeshadow Looks For Green Eyes.”
      51.   Williams also discovered an article on the Website dated April 9,

                                         6                          COMPLAINT
            Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 7 of 10




2019 titled “10 Makeup Looks That’ll Make You Glow This Summer” which
featured one of her Photographs.
          52.     Attached hereto as Exhibit M is a true and correct copy of the article
“10 Makeup Looks That’ll Make You Glow This Summer.”
          53.     Williams also discovered an article on the Website dated April 27,
2019 titled “8 Summer Eyeshadow Trends You Need To Know About” which
featured two of her Photographs.
          54.     Attached hereto as Exhibit N is a true and correct copy of the article
“8 Summer Eyeshadow Trends You Need To Know About.”
          55.     Williams also discovered an article on the Website dated September
15, 2020 titled “12 Eyeliner Tutorials That Can Change Your Look” which
featured one of her Photographs.
          56.     Attached hereto as Exhibit O is a true and correct copy of the article
“12 Eyeliner Tutorials That Can Change Your Look.”
          57.     Williams also discovered an article on the Website dated June 19,
2020 titled “5 Makeup Looks To Try Out For Green Eyes” which featured one of
her Photographs.
          58.     Attached hereto as Exhibit P is a true and correct copy of the article “5
Makeup Looks To Try Out For Green Eyes.”
          59.     Collectively these will be referred to as the Infringing Articles.
                Society19 Does Not Respond To Williams’ Communications
          60.     Subsequently, on March 26, 2020 Williams, through counsel, sent a
letter to copyright@society19.com demanding that Society19 immediate cease and
desist.
          61.     Society19 never responded.
          62.     Counsel for Williams subsequently made no less than 10 additional
attempts to contact Society19 by email, phone, and traditional mail.

                                               7                             COMPLAINT
            Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 8 of 10




      63.      Society19 never responded to counsel’s attempts to communicate.
      64.      As of the date of this Complaint, Williams’ Photographs have not
been taken down from the Society19 Website.
      65.      Attached hereto as Q are true and correct timestamped screenshots of
the Photographs currently being displayed on the Society19 Website.
      66.      Williams did not give Society19 permission to use any of her
Photographs on the Website.
      67.      Williams is informed and believes that agents of Society19 are
responsible for causing the Photographs to be published onto the Society19
Website.
                           FIRST CAUSE OF ACTION
                          COPYRIGHT INFRINGEMENT
                              17 U.S.C. § 101 et seq
      68.       Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
      69.      Plaintiff did not consent to, authorize, permit, or allow in any manner
the said use of Plaintiff’s unique and original Photographs.
      70.      Plaintiff is informed and believes and thereon alleges that the
Defendant willfully infringed upon Plaintiff’s copyrighted Photographs in violation
of Title 17 of the U.S. Code, in that it used, published, communicated, posted,
publicized, and otherwise held out to the public for commercial benefit, the
original and unique Photographs of the Plaintiff without Plaintiff’s consent or
authority, by using it in the Infringing Articles on Defendant’s Website.
      71.      Plaintiff is informed and believes that Defendant has the ability to
supervise and control the content that is published on the Website and that it
receives a direct financial benefit from the infringing use of the Photographs
through paid banner advertisements and revenue from the sales of products.
      72.      As a result of Defendant’s violations of Title 17 of the U.S. Code,

                                            8                            COMPLAINT
         Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 9 of 10




Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or
statutory damages in an amount up to $150,000 per work infringed pursuant to 17
U.S.C. § 504(c).
      73.    As a result of the Defendant’s violations of Title 17 of the U.S. Code,
the court in its discretion may allow the recovery of full costs as well as reasonable
attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendants.
      74.    Plaintiff is also entitled to injunctive relief to prevent or restrain
infringement of his copyright pursuant to 17 U.S.C. § 502.
                             PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
   • For a finding that Defendant infringed Plaintiff’s copyright interest in the
      Photographs by copying, displaying, and distributing them without a license
      or consent;
   • For an award of actual damages and disgorgement of all of profits
      attributable to the infringement as provided by 17 U.S.C. § 504 in an amount
      to be proven or, in the alternative, at Plaintiff’s election, an award for
      statutory damages against Defendant in an amount up to $150,000 for each
      work infringed pursuant to 17 U.S.C. § 504(c), whichever is larger;
   • For an injunction preventing Defendant from further infringement of all
      copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;
   • For costs of litigation and reasonable attorney’s fees against Defendant
      pursuant to 17 U.S.C. § 505;
   • For pre judgment interest as permitted by law; and
   • For any other relief the Court deems just and proper.


Dated: January 20, 2022                       Respectfully submitted,



                                          9                             COMPLAINT
        Case 1:22-cv-10081-AK Document 1 Filed 01/20/22 Page 10 of 10



/s/ Taryn R. Murray                           /s/ Ryan E. Carreon
Taryn R. Murray, Esq.                         Ryan E. Carreon, Esq.
Mass Bar No. 703750                           Pro Hac Vice forthcoming
HIGBEE & ASSOCIATES                           HIGBEE & ASSOCIATES
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(714) 597-6729 facsimile                      (714) 597-6729 facsimile
tmurray@higbeeassociates.com                  rcarreon@higbeeassociates.com
Attorney for Plaintiff                        Attorney for Plaintiff

                          DEMAND FOR JURY TRIAL
      Plaintiff, Tamara Williams hereby demands a trial by jury in the above matter.


Dated: January 20, 2022                Respectfully submitted,

/s/ Taryn R. Murray                           /s/ Ryan E. Carreon
Taryn R. Murray, Esq.                         Ryan E. Carreon, Esq.
Mass Bar No. 703750                           Pro Hac Vice forthcoming
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                                         10                            COMPLAINT
